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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MINNESOTA


 ORBIT SPORTS LLC,                                               Civil Action No.: _________

                                Plaintiff,

 vs.                                                                    COMPLAINT

 GLEN TAYLOR, TAYLOR CORPORATION,
 and TAYLOR SPORTS GROUP, INC.,

                                Defendants.



       Plaintiff Orbit Sports LLC (“Orbit”), by and through its attorneys, Greenberg Traurig, LLP,

states as follows by way of Complaint against defendants Glen Taylor (“Taylor”), Taylor

Corporation (“Taylor Corporation”) and Taylor Sports Group, Inc. (“Taylor Sports Group”) (each,

a “Taylor Party” and collectively, the “Taylor Parties”), upon knowledge with respect to Orbit’s

own acts and upon information and belief with respect to all other matters:

                                        INTRODUCTION

       1.      The Taylor Parties are, collectively, the majority owner and General Partner of the

NBA’s Minnesota Timberwolves (the “Timberwolves”) and the WNBA’s Minnesota Lynx (the

“Lynx”). The Taylor Parties, however, are not the only owner. Over the years, the Taylor Parties

have raised substantial sums of money by selling portions of their interests in the teams to various

limited partners.

       2.      Among those limited partners is Orbit, which currently owns more than 17% of the

Timberwolves and Lynx. Orbit not only owns the second largest ownership interest in the teams,

but its stake also is greater than those of all other (non-Taylor Parties) limited partners combined.
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        3.      Orbit first invested in the Timberwolves and Lynx in 2016, when the Taylor Parties

sold a portion of their interests to raise desperately-needed cash. At that time, Orbit was unwilling

to invest in a minority interest in the Timberwolves and Lynx unless it received a guarantee that it

would be able to sell its interest in the event that Taylor agreed to transfer control of the teams.

        4.      For this reason, in 2016, the Partnership Agreement was amended to provide that

in the event of such a “Control Sale,” Orbit (and the other limited partners) had the right to sell its

entire interest to the buyer. These rights are referred to as the “Tag-Along Rights.”

        5.      A “tag-along-right” is a provision commonly found in partnership agreements to

protect minority investors if the controlling partner proposes to sell the ownership of the company

without the consent or approval of the minority investors. A “tag-along right” entitles minority

investors to sell their interests if controlling partnership interests are proposed to be transferred.

        6.      The Tag-Along Rights in the Partnership Agreement were a material precondition

to Orbit’s decision to invest in the Timberwolves and Lynx. Without them, Orbit would not have

made its investment in the first place.

        7.      Taylor has publicly announced that he has agreed to sell his interests in the

Timberwolves and Lynx to Alex Rodriguez (“Rodriguez”) and Marc Lore (“Lore”). That sale has

been described as “beginning the transition of ownership and a new chapter of Minnesota

Timberwolves and Lynx basketball.” (See, e.g., https://www.nba.com/timberwolves/statement-on-

ownership) (emphasis added).

        8.      As reported in the Star Tribune (which Taylor also owns), “Taylor, 80, has an

agreement for the $1.5 billion sale of the Wolves and Lynx to former baseball star Alex Rodriguez and

tech entrepreneur Marc Lore.” (Emphasis added).




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          9.    Taylor’s agreement to transfer control of the Timberwolves and Lynx to Rodriguez

and Lore triggered Orbit’s Tag-Along Rights under the Partnership Agreement. Nonetheless,

when Orbit attempted to exercise its Tag-Along Rights, Taylor not only ignored Orbit but also

privately stated – directly contrary to his public statements – that he is not proposing to enter into

a “control sale” with Rodriguez and Lore at this time. Instead, Taylor is claiming that any “control

sale” will be years in the future, and therefore Orbit currently does not have any Tag-Along Rights.

          10.   Taylor is wrong. Although the deal with Rodriguez and Lore was structured as a

clumsy attempt to circumvent Orbit’s Tag-Along Rights, it does not deprive Orbit of its Tag-Along

Rights.

          11.   As a threshold matter, the Tag Along Rights are triggered regardless of whether

control is transferred “in a single transaction or in a series of related transactions.” (Partnership

Agreement § 1.9C) (emphasis added.) Here, Taylor is proposing to enter into a series of related

transactions through which the Taylor Parties will transfer their controlling interests to Rodriguez

and Lore over time – which is just as much of a “Control Sale” under the Partnership Agreement

as would be a sale of the Taylor Parties’ entire interests in one fell swoop.

          12.   Orbit’s Tag-Along Rights were triggered immediately when the Taylor Parties

“proposed” to enter into a “Control Sale” – regardless of when the transaction closes or when a

change of control actually occurs. Put another way, the Taylor Parties’ Tag-Along obligations

under the Partnership Agreement are triggered immediately upon their “proposal” to enter into a

Control Sale – whether or not control transfers in two days, two months or even two years later.

Having already signed a detailed agreement regarding a transition of ownership and having

publicly announced that agreement, Taylor clearly has “proposed” to enter into a “Control Sale”

with Rodriguez and Lore.



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        13.     Under the Partnership Agreement, if the prospective purchaser does not agree to

purchase Orbit’s interests, Taylor himself must acquire them. Moreover, the Partnership

Agreement provides that Taylor may not transfer any Partnership Interests – including his own –

unless and until he has honored all Tag-Along Rights.

        14.     Taylor has refused to take any of the steps required under the Partnership

Agreement to honor these Tag-Along Rights. He has refused to recognize, much less act upon,

Orbit’s “Tag-Along Notices” through which Orbit elected to exercise its Tag-Along Rights to

participate in the proposed sale to Rodriguez and Lore.

        15.     Under his agreement with Rodriguez and Lore, Taylor’s sale of an initial 20% of

the teams is scheduled to close in 2021. Under the same agreement, Taylor is also issuing

“options” for Rodriguez and Lore to acquire all of Taylor’s remaining interests on or before various

specified outside dates up to the end of 2024. Nothing in this convoluted structure diminishes

Orbit’s ability to exercise its Tag-Along Rights now.

        16.     Under the Partnership Agreement, a “Control Sale” encompasses an “exchange or

other disposition” of the Taylor Parties’ interests through a “series of related transactions” – even

if one or more or those “related transactions” may not be deemed a “sale” and even if those

transactions do not all occur at once. Therefore, a “Control Sale” will have occurred immediately

upon closing of the proposed transaction with Rodriguez and Lore, which admittedly involves a

“transition of ownership” – and not merely when they might exercise various carefully-specified

“options” down the road.

        17.     There are two ways in which the Taylor Parties can transfer their controlling

interests in the Timberwolves and Lynx to a third party: (i) through a single transaction involving

the Taylor Parties’ entire interests all at once; or (ii) through a series of related transactions through



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which the Taylor Parties transfer their controlling interests to a third party over time. Under the

Partnership Agreement, both of those scenarios constitute a “Control Sale.” Here, Taylor is

proposing to enter into a series of related transactions through which the Taylor Parties transfer

their controlling interests to Rodriguez and Lore over time – which is just as much of a “Control

Sale” under the Partnership Agreement as would be a sale of the Taylor Parties’ entire interests in

one fell swoop.

       18.     If any more evidence were needed about whether Taylor’s agreement with

Rodriguez and Lore is an agreement to transfer control in a “series of related transactions,” Taylor

confirmed to Darren Wolfson of KSTP News that “it’s obvious . . . where the ownership is going,”

and predicted that “the transition will be relatively easy.” (https://kstp.com/minnesota-sports/glen-

taylor-interview-selling-timberwolves-lynx-rodriguez-lore/6111053/) (“Q&A: Glen Taylor on

selling Wolves and Lynx to Alex Rodriguez and Marc Lore”) (emphasis added).

       19.     Under the agreement that Taylor signed, Rodriguez and Lore are entitled to exercise

their “options” at any time following the closing date and prior to the dates set forth in the

agreement. In other words, although a number of their rights under the agreement are called

“options,” the truth is that Rodriguez and Lore may assume control of the Timberwolves and Lynx

long before December 31, 2023 – and they are entitled to do so, at their sole option, “at any time”

before then if they so wish. As a result, Rodriguez and Lore have a clear path to control.

       20.     There are other aspects of the sale to Rodriguez and Lore about which Taylor is

saying one thing publicly while actually doing something different entirely. The Associated Press

reported that “[t]hroughout the sale process, [Taylor] told interested parties that keeping the

franchises in town was a prerequisite for purchase, and quoted Taylor as saying that “[t]here was

no use talking to them if they didn’t agree to that.” Similarly, Taylor’s Star Tribune reported that



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“Timberwolves and Lynx owner Glen Taylor appeared on WCCO-AM 830 on Tuesday to reiterate that

there is language in the agreement he made with prospective new owners Alex Rodriguez and Marc

Lore to keep the Wolves in Minnesota,” and quoted Taylor as saying: “We have it in the contract, they

have signed the contract to do that.” (emphasis added).

       21.     Yet the truth is that Taylor’s agreement with Rodriguez and Lore does not, in fact,

require them to keep the Timberwolves in Minnesota.

       22.     Taylor must not be permitted to avoid his contractual obligation to Orbit, which

invested in the Timberwolves and Lynx only because of the assurance it obtained that it could sell

its interest in the teams without delay in the event of any agreement by Taylor to transfer control.

       23.     Orbit has repeatedly brought these matters to Taylor’s attention. Before Taylor

finalized his agreement with Rodriguez and Lore, Orbit reminded Taylor of its Tag-Along Rights

and advised Taylor that Orbit intended to exercise them if Taylor did go forward with an agreement

with Rodriguez and Lore. Taylor nevertheless went ahead and signed his agreement with

Rodriguez and Lore, while ignoring Orbit’s reminder of its Tag-Along Rights.

       24.     After Taylor signed his agreement with Rodriguez and Lore, Orbit sent multiple

additional letters to Taylor citing the provisions of the Partnership Agreement in detail and

explaining that Orbit’s Tag-Along Rights had been triggered.

       25.      Unfortunately, Orbit’s good faith efforts have been met with silence and

stonewalling. Instead of recognizing that he cannot vitiate Orbit’s Tag-Along Rights under the

Partnership Agreement, Taylor has repeatedly denied that those rights have been triggered at all.

       26.     Having exhausted its pre-litigation efforts to obtain Taylor’s recognition of its

bargained-for rights, Orbit brings this action for monetary, declaratory and injunctive relief to

protect and preserve those rights.



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        27.     Orbit brings these claims for breach of contract, breach of the implied covenant of

good faith and fair dealing, declaratory judgment, and injunctive relief enjoining Taylor and his

entities from proceeding with the transaction without first honoring his partners’ Tag-Along Rights

to fully participate in the sale from the outset.

        28.     Taylor cannot erase the bargained-for rights that he granted to Orbit years ago, and

that were triggered as soon as Taylor proposed to enter into a deal like the one to which Taylor

already has agreed with Rodriguez and Lore. Taylor should not be permitted to leap ahead of his

partners and pocket substantial proceeds from his deal with Rodriguez and Lore while his partners

are made to wait for up to several years to be paid for their interests.

                                           THE PARTIES

        29.     Taylor is a natural person who is domiciled in the State of Minnesota and is a citizen

of the State of Minnesota.

        30.     Taylor Sports Group is a Minnesota corporation with its principal place of business

located at 1725 Roe Crest Drive, North Mankato, Minnesota 56002. Taylor Sports Group is a

citizen of the State of Minnesota.

        31.     Taylor Corporation is a Minnesota corporation with its principal place of business

located at 1725 Roe Crest Drive, North Mankato, Minnesota 56002. Taylor Corporation is a

citizen of the State of Minnesota.

        32.     Orbit is a New Jersey limited liability company with its principal place of business

located at 980 Sylvan Avenue, Englewood Cliffs, New Jersey 07632. Orbit’s members are all

citizens of the State of New Jersey. No member of Orbit is a citizen of the State of Minnesota.




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                                JURISDICTION AND VENUE

       33.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1332(a)(2)

because this action is between citizens of different States and the amount in controversy exceeds

$75,000.

       34.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(a)(2).

                                   STATEMENT OF FACTS

A.     Orbit is By Far the Largest Non-Taylor Party Limited Partner in the Timberwolves
       and Lynx.

       35.     Taylor Sports Group is the General Partner of the Minnesota Timberwolves Limited

Partnership (the “Partnership”) pursuant to a Limited Partnership Agreement effective

September 29, 1994, as amended (the “Partnership Agreement”), which is attached as Exhibit A.

Taylor Sports Group owns all General Partnership Interests in the Partnership.

       36.     The purpose of the Partnership, among other things, is to own and operate the

Timberwolves and the Lynx, both located in Minneapolis, Minnesota.

       37.     As General Partner, Taylor Sports Group has the “exclusive management and

control of the business of the Partnership, and all decisions regarding the management and affairs

of the Partnership shall be made by the General Partner.” (Partnership Agreement § 7.1.)

       38.     Taylor Corporation and Taylor are Limited Partners under the Partnership

Agreement and collectively own a substantial majority of the Limited Partnership Interests.

       39.     Taylor owns and controls both Taylor Sports Group and Taylor Corporation.

       40.     Except only for the Taylor Parties, Orbit is the largest Limited Partner of the

Partnership, holding more than 17% of the Partnership Interests. Orbit’s stake in the Partnership

is greater than the interests of all other non-Taylor Party Limited Partners combined.




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B.       Orbit’s Tag-Along Rights Are Triggered Immediately When a Taylor Party Proposes
         to Enter into a Control Sale.
         1.    Orbit’s Tag-Along Rights Guarantee Its Ability to Exit in Full and at the
               Outset of Any “Series of Related Transactions,” Whether by “Sale, Exchange
               or Other Disposition,” Involving the Transfer of the Taylor Parties’
               Partnership Interests.
         41.   Orbit’s significant stake in the Timberwolves and Lynx is no accident: Taylor

solicited Orbit’s investment at a time when he sorely required a capital infusion. Before acquiring

its initial Limited Partnership Interests in 2016, Orbit required that the Partnership Agreement be

amended to guarantee all Limited Partners certain rights, known as “Tag-Along Rights,” in the

event of a “Control Sale.”

         42.   The Tag-Along Rights were a precondition to Orbit’s decision to become a Limited

Partner. Put another way, the Tag-Along Rights were a significant factor in Orbit’s decision to

invest in the Timberwolves and Lynx. Without them, Orbit would not have invested in the first

place.

         43.   Under Section 10.7 of the Partnership Agreement, if and when the Taylor Parties

propose to enter into a Control Sale, all Limited Partners – including Orbit – have the right to

participate and sell their own interests in the Partnership at the same price as proposed through the

Control Sale. (See Partnership Agreement § 10.7(a) (“[I]n the event that one or more members of

the Taylor Group . . . proposes to enter into a Control Sale. . ., then each Limited Partner (the ‘Tag-

Along Partners’) shall have the right (the ‘Tag-Along Right’), to elect to participate in such Tag-

Along Sale . . .”) (emphasis added).)

         44.   Once those Tag-Along Rights are triggered, the Selling Partner – i.e., the Taylor

Parties in connection with the proposed transaction – is required to take various actions for the

benefit of other partners, including Orbit. Among other things, the Taylor Parties (a) must give

notice of any proposed Control Sale to all Limited Partners; (b) must use commercially reasonable


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efforts to obtain the agreement of the Prospective Purchaser to allow the participation of Limited

Partners who wish to participate; (c) must purchase, at the negotiated price, the interests of any

Limited Partner whose Limited Partnership Interests are not purchased by the Prospective

Purchaser; and (d) may not proceed with the proposed Control Sale if all Limited Partners who

wish to participate are not allowed to participate at the negotiated price. (Partnership Agreement

§§ 10.7(b)-(d).)

       45.     In defining the term “Control Sale,” the parties agreed that it would include any

“sale, exchange or other disposition . . . of Partnership Interests which includes majority of all the

General Partnership Interests,” whether “in a single transaction or in a series of related

transactions.” (Partnership Agreement § 1.9C (emphasis added).) This definition, which Orbit

specifically bargained for with the Taylor Parties, protects against a deal structure that might

impair the value of the Limited Partnership Interests over time or subject the Limited Partners to

indeterminate credit risk, whether due to the passage of time, the impact of purchase price

adjustments, the incurrence of additional debt obligations by the Partnership, changes in tax law,

or otherwise. The definition of “Control Sale” ensures that Limited Partners can exit in full at the

outset, instead of being forced to assume such risks if the Control Sale spans a series of related

transactions over time.

       46.     The parties agreed that the vesting of Tag-Along Rights would not be delayed until

the actual transfer of a majority of General Partnership Interests. Instead, Tag-Along Rights are

triggered immediately once a member of the Taylor Group “proposes to enter into a Control Sale.”

(Partnership Agreement § 10.7(a) (emphasis added).)

       47.     As noted, under Section 1.9C of the Partnership Agreement, a Control Sale includes

“a sale, exchange or other disposition (for cash or property with a discernible cash value) by one



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or more members of the Taylor Group, in a single transaction or series of related transactions, to

any Person who is not a member of the Taylor Group, of Partnership Interests which includes a

majority of all the General Partnership Interests.” (Partnership Agreement § 1.9C) (emphasis

added).     In other words, under Section 1.9C, a “Control Sale” need not necessarily involve a

“sale”; an “exchange or other disposition” qualifies, too. (Id.)

          48.   An agreement to transfer the Taylor Parties’ Partnership Interests constitutes a

“Control Sale” even if it is structured so that the General Partnership Interests are sold or otherwise

disposed together at the end, following other transactions involving other Partnership Interests held

by the Taylor Parties. Such an agreement constitutes a sale, exchange or other disposition “in a

series of related transactions . . . of Partnership Interests which includes a majority of all the

General Partnership Interests.” (Id.) (Emphasis added).

          49.   Once a Control Sale is “proposed,” the Tag Along Rights under the Partnership

Agreement are immediately triggered. (Partnership Agreement § 10.7(a)). Indeed, the Partnership

Agreement provides that when a Control Sale is proposed, “then” – not at some future date – “each

Limited Partner (the ‘Tag-Along Partners’) shall have the right (the ‘Tag-Along Right’), to elect

to participate in such Tag-Along Sale . . . .” (Id.) (emphasis added).

          50.   In light of the above, the Taylor Parties’ Tag-Along obligations under Section 10.7

of the Partnership Agreement are triggered immediately upon any “proposal” by them to enter into

a Control Sale, whether or not closing of such a Control Sale is scheduled to occur – and whether

or not “control” might actually vest – two days, two months or even two years later. The triggering

event under Section 10.7 is when the Taylor Parties “propose” to enter into a Control Sale – not

when the Taylor Parties might elect to close or actually transfer “control.”




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       51.     Once the Tag-Along Rights are triggered, the Taylor Parties must honor them

before proceeding with a transaction that benefits only them, as the Taylor Parties now seek to do.

       52.     The Partnership Agreement expressly prohibits the Taylor Parties from transferring

any of their Partnership Interests as part of a Control Sale without first honoring the Limited

Partners’ Tag-Along Rights.: the Selling Partner “shall not (directly or indirectly) Transfer any of

its Partnership Interests” until after every Limited Partner has fully exercised its Tag-Along Rights,

if it chooses to do so. (Partnership Agreement § 10.7(d)(iii)) (emphasis added).

       53.     Therefore, the Taylor Parties may not proceed with a Control Sale – i.e., a Transfer

of their own Partnership Interests to a third party – unless and until they have complied with

Section 10.7 of the Partnership Agreement by honoring and implementing the Tag-Along Rights

of Orbit and all other Limited Partners.

       2.      The Partnership Agreement Provisions Assure Orbit’s Tag-Along Rights.

       54.     The Limited Partners’ Tag-Along Rights are governed by Section 10.7 of the

Partnership Agreement. Specifically, Section 10.7(a) provides, in full, as follows:

       Participation Right. Subject to Section 10.1, in the event that one or members of
       the Taylor Group (which includes one or more persons that collectively own,
       directly or indirectly, a majority of the General Partnership Interests) proposes to
       enter into a Control Sale (such participating members of the Taylor Group,
       collectively the "Selling Partner"), and the Selling Partner does not exercise the
       Drag-Along Right (defined below) with respect to such sale (the "Tag-Along
       Sale"), then each Limited Partner (the "Tag-Along Partners") shall have the right
       (the "Tag-Along Right") to elect to participate in such Tag-Along Sale on and
       pursuant to the terms and conditions set forth in this Section 10.7 at the same price
       and on the same other terms and conditions applicable to the Selling Partner (other
       than the non-purchase price terms applicable to the General Partnership Interests
       (for the avoidance of doubt, the Limited Partnership Interests will receive the same
       purchase price, on a per-Percentage Interest basis, as is applicable to the General
       Partnership Interests)).

       (Partnership Agreement § 10.7(a).)

       55.     “Control Sale” is defined in Section 1.9C of the Partnership Agreement as follows:


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        [A] sale, exchange or other disposition (for cash or property with a discernible cash
        value) by one or more members of the Taylor Group, in a single transaction or series
        of related transactions, to any Person who is not a member of the Taylor Group, of
        Partnership Interests which includes a majority of all the General Partnership
        Interests (including the indirect sale, exchange or other disposition of such
        Partnership Interests through the sale, exchange or other disposition (for cash or
        property with a discernible cash value) of interests in any entity that owns, directly
        or indirectly, such Partnership Interests).

(Id. § 1.9C.)

        56.     Pursuant to Section 10.7(b) of the Partnership Agreement, if the Selling Partner

“proposes to enter into a Control Sale,” it must provide all Limited Partners (i.e., the Tag-Along

Partners) with a “Sale Notice” within ten days of executing a definitive agreement. (Id. § 10.7(b).)

Section 10.7(b) provides in full:

        Sale Notice. The Selling Partner shall provide each of the Tag-Along Partners with
        written notice of the proposed Tag-Along Sale (the “Sale Notice”) within ten (10)
        days following execution of any definitive agreement (by all the parties thereto)
        entered into with respect to the Tag-Along Sale. The Sale Notice shall describe in
        reasonable detail (i) the Partnership Interests to be sold (directly or indirectly) by
        the Selling Partner; (ii) the name of the proposed buyer (the “Prospective
        Purchaser”); (iii) the purchase price and the other material terms and conditions of
        the sale; (iv) the proposed date, time and location of the closing of the sale; and (v)
        copy of the definitive agreement so entered into or if not yet executed any form of
        agreement proposed to be executed in connection therewith.

(Id.)

        57.     Pursuant to Section 10.7(c) of the Partnership Agreement, upon receipt of the Sale

Notice, each Tag-Along Partner has fifteen days to exercise its Tag-Along Rights by issuing a

“Tag-Along Notice” to the Selling Partner that specifies the Partnership Interests it proposes to

sell. (Id. § 10.7(c).) Each Tag-Along Partner is “entitled to sell in the contemplated Tag-Along

Sale up to all of the Partnership Interest owned by such Tag-Along Partner.” (Id.) Section 10.7(c)

provides in full as follows:

        (i)     To exercise the Tag-Along Right, the Tag-Along Partner shall give written
                notice (the "Tag-Along Notice") to the Selling Partner of such election and


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                specifying the Partnership Interests it proposes to sell within fifteen (15)
                days after receiving the Sale Notice from the Selling Partner. The offer of
                each Tag-Along Partner set forth in a Tag-Along Notice shall be
                irrevocable, and, to the extent such offer is accepted, such Tag-Along
                Partner shall be bound and obligated to sell in the proposed Tag-Along Sale
                on the terms and conditions set forth in this Section 10.7. Subject to Section
                10.7(d), each Tag-Along Partner shall be entitled to sell in the contemplated
                Tag-Along Sale up to all of the Partnership Interest owned by such Tag-
                Along Partner.

        (ii)    Each Tag-Along Partner that timely and properly delivers a Tag-Along
                Notice (electing to exercise the Tag-Along Right) in accordance with this
                Section 10.7(b) is referred to as an "Electing Partner". Each Tag-Along
                Partner who does not timely and properly deliver a Tag-Along Notice in
                compliance with this Section 10.7(b) shall be deemed to have waived all of
                such Tag-Along Partner's rights to participate in such Tag-Along Sale.

(Id.)

        58.     Once a Limited Partner delivers a Tag-Along Notice, the Selling Partner must “use

commercially reasonable efforts to obtain the agreement of the Prospective Purchaser to the

participation of each Electing Partner in such contemplated Tag-Along Sale . . . .” (Id. §

10.7(d)(i).)

        59.     Additionally, under Section 10.7(d)(iii) of the Partnership Agreement,

        [t]he Selling Partner shall not (directly or indirectly) Transfer any of its Partnership
        Interests to any Prospective Purchaser pursuant to such Tag-Along Sale if either
        (x) such Prospective Purchaser declines to allow the participation of any Electing
        Partner in accordance with the terms hereof or (y) each Electing Partner that desires
        to sell all of its Partnership Interests in such sale is not able to do so because of the
        Maximum Tag Amount, unless in connection with such Tag-Along Sale, the
        Selling Partner purchases the Partnership Interest from such Electing Partner which
        such Electing Partner would have been entitled (and elected) to sell pursuant to this
        Section 10.7, in each case at the same price and on the same terms and conditions
        on which such Partnership Interests were sold to the Prospective Purchaser.

(Id. § 10.7(d)(iii).)




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       60.     Section 10.1 of the Partnership Agreement further provides that “[a] Partner may

not Transfer or assign all or any part of such Partner’s Partnership Interest except in accordance

with this Agreement.” (Id. § 10.1.)




C.     The Taylor Parties Propose to Enter into a Control Sale, Thus Immediately
       Triggering Orbit’s Tag-Along Rights.

       61.     On May 13, 2021, the Taylor Parties and the Partnership entered into an Equity

Interest Purchase Agreement (the “EIPA”) with Purple Buyer Holdings, LLC (the “Buyer”),

pursuant to which the Buyer will acquire 100% of the Taylor Parties’ Partnership Interests,

including all of Taylor Sports Group’s General Partnership Interests (the “Proposed Transaction”).

(A copy of the EIPA, excluding the exhibits thereto, is attached hereto as Exhibit B). The Buyer

is owned and controlled by Rodriguez, Lore, and/or entities controlled by them.

       62.     The Proposed Transaction constitutes a proposal to enter into a Control Sale,

thereby triggering the Limited Partners’ Tag-Along Rights under Section 10.7 of the Partnership

Agreement.

       63.     The Taylor Parties, however, have refused to acknowledge the Limited Partners’

Tag-Along Rights, as required by the Partnership Agreement. Instead, the Taylor Parties have

wrongly asserted that Orbit and the other Limited Partners do not currently have any Tag-Along

rights, because there supposedly is no Control Sale until the Buyer exercises one or more “options”

under the EIPA to acquire the Taylor Parties’ General Partnership Interests, which may not occur

until December 2023 (although, as noted, Rodriguez and Lore are entitled to exercise the options

“at any time” sooner than that).




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       64.     In a blatant attempt to circumvent their Tag-Along obligations, the Taylor Parties

have structured the Proposed Transaction in tranches, whereby the Buyer will acquire the Taylor

Parties’ Partnership Interests over time by exercising a series of “options.” Specifically, under

Section 6.1(b) of EIPA, the Buyers will acquire 20% of the Partnership Interests at the initial

“Closing” (as defined in the EIPA) scheduled for 2021. Thereafter, the Buyer will have “Call

Options” to acquire (a) an additional 20% of the Partnership Interests on or before December 31,

2022 (the “First Tranche”); (b) all of the Taylor Parties’ General Partnership Interests and, from

Taylor Corporation, an additional 4.939458% of Partnership Interests in the form of Limited

Partnership Interests on or before December 31, 2023 (the “Second Tranche”); and (c) all of the

Taylor Parties’ remaining Limited Partnership Interests on or before December 31, 2024. (See

EIPA, § 6.1(a)). Under Section 6.1(a) of the EIPA, moreover, “[e]ach Call Option may be

exercised by the Buyer at any time following the Closing Date prior to the respective dates

specified for the respective portion of the Call Option Units . . . .” (Id.) (emphasis added).

       65.     Before the May 14, 2021 date on which Taylor stated that the Taylor Parties

finalized their agreement with Rodriguez and Lore, Orbit reminded the Taylor Parties of its Tag-

Along Rights and advised the Taylor Parties that Orbit intended to exercise them if the Taylor

Parties went forward with an agreement with Rodriguez and Lore. (Exhibit C hereto).

       66.     After the Taylor Parties executed the EIPA, Orbit sent multiple follow-up letters to

the Taylor Parties citing the provisions of the Partnership Agreement in detail and explaining that

Orbit’s Tag-Along Rights had been triggered as a result of the Proposed Transaction set forth in

the EIPA. Attached hereto as Exhibits D, E and F are copies of letters sent by Orbit to the Taylor

Parties dated May 14, 2021, May 17, 2021 and May 18, 2021, respectively.




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        67.     Unfortunately, Orbit’s good faith efforts have been unavailing.           Instead of

recognizing that they cannot vitiate Orbit’s Tag-Along Rights under the Partnership Agreement,

the Taylor Parties have falsely contended that the Control Sale will not occur until the Buyer

exercises its Second Tranche option and acquires the General Partnership Interests. Attached

hereto as Exhibit G is a copy of Taylor’s letter to Orbit dated May 17, 2021.

        68.     The Taylor Parties, however, cannot erase Orbit’s Tag-Along Rights by structuring

the disposition of Partnership Interests in tranches or scheduling the transfer of General Partnership

Interests for a later date.

        69.     Under the Partnership Agreement, Tag-Along Rights do not arise only when the

Taylor Parties transfer a majority of the General Partnership Interests to the Buyer. Instead, Orbit’s

Tag-Along Rights arise when the Taylor Parties “propose[]” to sell, exchange, or otherwise

dispose of any of their Partnership Interests “in a series of related transactions,” as long as the

proposed disposition “includes a majority of all the General Partnership Interests.” (Partnership

Agreement §§ 1.9C, 10.7(a) (emphasis added).) That is precisely what has occurred here.

        70.     The Proposed Transaction consists of the sale, exchange or other disposition of

certain Limited Partnership Interests, coupled with the sale, exchange or other disposition over

time of the Taylor Parties’ remaining interests, including all the General Partnership Interests,

through a series of transactions, including “options” that Rodriguez and Lore are entitled to

exercise at various points in time. The Taylor Parties thus have proposed to enter into a “sale,

exchange or other disposition,” through a “series of related transactions,” of their Partnership

Interests, which includes a majority of the General Partnership Interests. No more is required to

trigger Orbit’s Tag-Along Rights.




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       71.     In short, under Section 10.7 of the Partnership Agreement, the triggering event

regarding Orbit’s Tag-Along Rights is when the Taylor Parties “propose” to sell, exchange or

otherwise dispose of their Partnership Interests, including a majority of their General Partnership

Interests, through a series of related transactions. The triggering event is not when the Taylor

Parties might elect to close on the “Control Sale”, when the Buyer exercises the Second Tranche

option, or when Taylor Parties actually transfer their General Partnership Interests to the Buyer.

       72.     The Partnership Agreement provides that when a Control Sale is proposed, “then”

– not at some future date – “each Limited Partner (the ‘Tag-Along Partners’) shall have the right

(the ‘Tag-Along Right’), to elect to participate in such Tag-Along Sale . . . .” (Id.) (emphasis

added). By executing the EIPA, the Taylor Parties are “proposing” to enter into a “Control Sale.”

Therefore, the Taylor Parties’ Tag-Along obligations have been triggered already.

       1.      The Taylor Parties’ Own Statements Demonstrate That They Have Proposed
               to Enter into a Control Sale.

       73.     The Taylor Parties’ own statements confirm that they have proposed to enter into a

Control Sale. In an April 12, 2021 email to the Limited Partners (a copy of which is attached

hereto as Exhibit H), Taylor disclosed his intention to relinquish control of the Partnership to the

Buyer. Specifically, Taylor advised as follows:

       I am sure by now you have seen the news regarding the exclusive letter of intent I
       signed over the weekend with Alex Rodriguez and Marc Lore to purchase the
       Timberwolves and Lynx franchises. As the reports indicate, this agreement is for a
       30 day window to negotiate and come to terms on final details. This agreement is
       structured for me to continue as the controlling partner for 2.5 years, after which
       Alex and Marc will take full ownership.

(Exhibit H)(Emphasis added.)

       74.     When he publicly discussed his deal with Rodriguez and Lore, Taylor hastened to

add that he took measures to ensure that the Timberwolves would remain in Minnesota. The



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Associated Press reported that “[t]hroughout the sale process, [Taylor] told interested parties that

keeping the franchises in town was a prerequisite for purchase, and quoted Taylor as saying that

“[t]here was no use talking to them if they didn’t agree to that.” (Exhibit I).

        75.      Similarly, Taylor’s Star Tribune reported that “Timberwolves and Lynx owner Glen

Taylor appeared on WCCO-AM 830 on Tuesday to reiterate that there is language in the agreement he

made with prospective new owners Alex Rodriguez and Marc Lore to keep the Wolves in Minnesota,”

and then specifically quoted Taylor as saying: “We have it in the contract, they have signed the contract

to do that.” (Exhibit J) (Emphasis added).

        76.      On May 14, 2021, after they executed the EIPA, the Taylor Parties issued a public

statement that was issued on the Timberwolves’ website and posted on social media. (A copy of

the aforesaid public statement is attached hereto as Exhibit K). The statement provided, in

relevant part:

        Glen Taylor has reached an agreement with Marc Lore and Alex Rodriguez
        regarding the sale and future ownership of the Timberwolves and Lynx. The
        transaction will close following league approval, beginning the transition of
        ownership and a new chapter of Minnesota Timberwolves and Lynx basketball.

(Exhibit K) (Emphasis added).

        77.      In an interview with Darren Wolfson of KSTP News, Taylor again described the

transfer of control to the Buyer as a done deal, subject only to formalities:

        In the long run I think it’s obvious that we now know, you know, where the
        ownership is going in the future and I think it’s good for our employees to be able
        to work with [the Buyer] for the next couple of years and to everyone to get to know
        each other and I think the transition will be relatively easy.

(https://kstp.com/minnesota-sports/glen-taylor-interview-selling-timberwolves-lynx           rodriguez-

lore/6111053/) (“Q&A: Glen Taylor on selling Wolves and Lynx to Alex Rodriguez and Marc

Lore”) (Emphasis added).



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       78.     These and many other statements demonstrate that the intention of both parties to

the Proposed Transaction is to transfer control of the Timberwolves and Lynx, together with their

related assets, through the consummation of the Proposed Transaction.

       2.      The EIPA’s Provisions Further Demonstrate that the Taylor Parties
               Have Proposed to Enter into a Control Sale.

       79.     The provisions of the EIPA further demonstrate that the Proposed Transaction is a

Control Sale. Section 2.1 of the EIPA, for instance, demonstrates that the acquisition of the

“Closing Units” is one of a series of related transactions – all set forth in painstaking detail in a

single document – that will result in a transfer of control to the Buyer.

       80.     The “Call Options” set forth in Section 2.1(b) all will be “[e]ffective as of the

Closing and after giving effect to the purchase of the Closing Units by the Buyer.” (EIPA, § 2.1(b))

(emphasis added). Specifically, at Closing, “each of the Seller Parties will grant to the Buyer a

series of Call Options (as defined in Article VI) to acquire all of the remaining Taylor Units held

by the Seller Parties on the terms and conditions set forth [t]herein.” Id. (emphasis added).

       81.     In other words, the EIPA sets forth a “series of related transactions to [Buyer], of

Partnership Interests which includes a majority of all the General Partnership Interests (including

the indirect sale, exchange or other disposition of such Partnership Interests through the sale,

exchange or other disposition (for cash or property with a discernible cash value) of interests in

any entity that owns, directly or indirectly, such Partnership Interests).” (See Partnership

Agreement § 1.9C.) That “series of related transactions” will be “effective” as of day one. (See

EIPA § 2.1(b).)

       82.     By virtue of the granting of the Call Options, the Taylor Parties have provided the

Buyer with a clear path to control and, under the EIPA, the Taylor Parties have no means to prevent

or otherwise avoid the sale of all of their General Partnership Interests to the Buyer. The EIPA’s


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defined term “Contemplated Transactions” expressly includes the various tranches in addition to

the sale at the initial Closing.

        83.     Under the EIPA, the Taylor Parties and the Buyer contemplate more than a single

transfer of Limited Partnership Interests. In fact, the initial sale and subsequent tranches are set

forth in a single, integrated agreement that includes direct and specific ties between transaction

steps. These transactions are related and, when taken together, the tranches constitute a “series of

related transactions” within the meaning of the Partnership Agreement.

        84.     Furthermore, Section 9.7 and Exhibit I to the EIPA – artfully titled “Certain

Operating and Governance Matters” – set forth the details of the change of control from the Taylor

Parties to Rodriguez and Lore. (A copy of Exhibit I to the EIPA is attached hereto as Exhibit L).

These sort of “governance matters” were never contemplated – much less, granted – when any

prior non-Taylor investment (including Orbit’s substantial investment) was made in the

Timberwolves and Lynx.

        85.     For instance, the EIPA names Lore and Rodriguez as Alternate Governors, a first

for Limited Partners. (See EIPA, § 9.7 and Exhibit I thereto (“With respect to the period between

the Closing Date and the Transition Date, the General Partner will appoint Alex Rodriguez and

Marc Lore as Alternate Governors”).) The designation of “Governor” has significant meaning

with the National Basketball Association. The EIPA also proposes to restrict amendments to the

Drag- or Tag-Along rights in a manner that would be adverse to the ability of Lore and Rodriguez

to obtain control and includes the list of perquisites and other rights that the Taylor Parties will

have once Lore and Rodriguez assume control of the Timberwolves and Lynx. (Id.)

        86.     In yet another “first” for the Timberwolves and Lynx, the EIPA provides that “[t]he

Company will establish an advisory board (the ‘Advisory Board’) selected by the limited partners



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of the Company” – but that each of the Taylor Parties “agrees to vote their respective limited

partnership interests in favor of two (2) representatives designated by [Rodriguez and Lore].”

(See EIPA, § 9.7 and Exhibit I thereto (emphasis added).)

       87.     The EIPA further provides that “[b]etween the Closing Date and the Transition

Date, the General Partner will present to the Advisory Board for discussion before causing the

Company or any of its subsidiaries to take any of the [various enumerated] actions with respect

to the Company or the Team.” (Id.) (emphasis added). In other words, immediately upon the

Closing, the Rodriguez and Lore will become part of an “Advisory Board” and the General Partner

will not cause the Company to take a series of actions without first presenting such actions to the

“Advisory Board.” (Id.)

       88.     Furthermore, the EIPA sets forth a procedure by which “the Buyer, or its Affiliate,

becomes the General Partner.” (See EIPA, § 9.7 and Exhibit I thereto (emphasis added).) The

EIPA defines “Controlling Owner” as “the individual designated by the General Partner of the

Company in accordance with NBA Rules consisting of: (a) Glen A. Taylor (or any successor

designee by Taylor Sports Group, Inc.); or (b) Marc Lore or Alex Rodriguez as designated by

Buyer. (Id.) (emphasis added). “General Partner,” in turn, is defined to include “Buyer with

respect to any period between the Call Option Closing of the Second Tranche and the date on

which the last of Taylor Sports Group, Inc., Taylor Corporation and Glen A. Taylor (Taylor’) own

Units of Company (‘Exit Date’)”). (Id.) (emphasis added).

       89.     In such manner, the EIPA provides for an “Exit Date” for the Taylor Parties,

following which they will cede any remaining control to the Buyer. At that point, the Buyer, as

“Controlling Owner,” “will have exclusive power and authority to act for and bind the Company

. . . with respect to all matters relating to the NBA and the basketball and business operations of



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the Company and its subsidiaries (including with respect to Core NBA Matters, as defined in the

NBA Ownership Transfer Policies).” (Id.) (emphasis added).

        90.    In these and other ways, the EIPA confirms that the Taylor Parties are proposing to

enter into a Control Sale within the meaning of Section 1.9 of the Partnership Agreement. The

EIPA specifies a “series of related transactions” which will result in the Buyer: (i) succeeding the

Taylor Parties as the General Partner; (ii) becoming the “Controlling Owner”; and (ii) being vested

with “exclusive power and authority to act for and bind the Company.” (See EIPA, § 9.7 and

Exhibit I thereto.) Greater “control” can hardly be imagined than the “exclusive power and

authority” that will be vested in the Buyer through the series of related transactions set forth in the

EIPA.

        91.    Significantly for the people of Minnesota, the EIPA also contradicts Taylor’s public

statements about a purported obligation “in the contract” that the Buyer cannot move the

Timberwolves and Lynx outside of Minnesota.

        92.    Exhibit I (Governance Matters) to the EIPA requires the Buyer, if it becomes the

General Partner, to present the issue to the Advisory Board before moving the team, but it does

not require the Buyer to keep the franchises in Minnesota, and the Advisory Board cannot stop

the new General Partner from moving the teams.             Therefore, contrary to Taylor’s public

assurances, the Buyer, once it becomes the General Partner, will not be restricted under the EIPA

from moving the franchises from Minnesota if the Buyer is inclined to do so.

        93.    The bottom line is this: The Taylor Parties indisputably are proposing to enter into

a Control Sale under the Partnership Agreement (albeit to a Buyer who will have unfettered

discretion to move the Timberwolves and Lynx outside of Minnesota once they become General

Partner). To quote the Partnership Agreement, the Proposed Transaction constitutes “a sale,



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exchange or other disposition . . . in a . . . series of related transactions . . . of Partnership Interests

which includes a majority of all the General Partnership Interests.” (Partnership Agreement §

1.9C). Orbit thus has the right under Section 10.7 of Partnership Agreement to immediately

exercise its Tag-Along Rights, and the Taylor Parties may not transfer any of their Partnership

Interests unless and until they honor Orbit’s Tag-Along Rights.

C.      The Taylor Parties Are in Breach of Their Obligations to Orbit.

        94.     The Taylor Parties are in breach of their obligations to Orbit under Section 10.7 of

the Partnership Agreement.

        95.     Since announcing the Proposed Transaction, the Taylor Parties have steadfastly

refused to acknowledge that they have proposed to enter into a Control Sale triggering Orbit’s Tag-

Along Rights under the Partnership Agreement. Instead, they have denied that they are proposing

a Control Sale, and they also have failed and refused to take a number of other steps required under

the Partnership Agreement.

        96.     In breach of the Partnership Agreement, the Taylor Parties have not complied with

the provisions of Section 10.7 of the Partnership Agreement. Section 10.7(b) requires the Taylor

Parties to provide each of the Limited Partners, including Orbit, a written “Sale Notice” within ten

days following execution of any definitive agreement, which here occurred no later than May 14,

2021. Therefore, since the EIPA was executed no later than May 14, 2021, the contractual deadline

to provide a Sale Notice expired no later than ten days thereafter, or on May 24, 2021. The Taylor

Parties did not provide a Sale Notice to Orbit by that date in accordance with the provisions of

Section 10.7(b) of the Partnership Agreement.

        97.     Although the Taylor Parties provided a copy of the EIPA to Orbit, nowhere in their

letter transmitting the EIPA did the Taylor Parties provide written notice of a “proposed Tag-Along



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Sale,” as required by Section 10.7(b) of the Partnership Agreement. (See Partnership Agreement

§ 10.7(d)(i).) To the contrary, the Taylor Parties wrongly contended that “a ‘Control Sale’ for

purposes of the MTBLP Partnership Agreement would not arise unless and until the Second

Tranche option is exercised and consummated.” (Exhibit G hereto).

        98.    In other words, instead of providing notice to Orbit as required that they were

proposing a “Tag-Along Sale,” the Taylor Parties took the position that no such “Tag-Along Sale”

is being proposed at this time and, instead, “would not arise unless and until the Second Tranche

option is exercised and consummated.” (Exhibit G hereto). As such, the Taylor Parties have failed

and, indeed, refused to provide a Sale Notice in compliance with the provisions of Section 10.7(b)

of the Partnership Agreement.

        99.    In further breach of the Partnership Agreement, the Taylor Parties have ignored and

failed to act on Orbit’s Tag-Along Notices under Section 10.7(c)(i) of the Partnership Agreement.

Upon receipt of the Tag-Along Notices, the Taylor Parties must use commercially reasonable

efforts to obtain the Buyer’s agreement to Orbit’s participation in the Proposed Transaction at the

Closing. (See Partnership Agreement § 10.7(d)(i).) If the Buyer does not agree, the Taylor Parties

themselves must purchase Orbit’s Partnership Interests at the Closing, at the same price and on the

same terms and conditions that the Taylor Parties are selling their Partnership Interests. (See id. §

10.7(d)(i).)

        100.   Orbit delivered a Tag-Along Notice to the Taylor Parties on May 14, 2021,

exercising its right to sell all of its Limited Partnership Interests as part of the Proposed

Transaction. (Exhibit D hereto). By letter dated May 18, 2021, Orbit reiterated its election to sell

all of its Partnership Interests, pursuant to the Tag-Along Rights contained in the Partnership

Agreement, based on the enterprise value set forth in the EIPA. (Exhibit F hereto).



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       101.    The Taylor Parties, however, have not even acknowledged receipt of Orbit’s Tag-

Along Notices. Instead, the Taylor Parties have expressly denied that Orbit possesses any Tag-

Along Rights, and have neither used commercially reasonable efforts to obtain the Buyer’s

agreement to Orbit’s participation, nor offered to purchase Orbit’s Partnership Interests

themselves, as the Partnership Agreement requires.

       102.    Through their words and actions, the Taylor Parties have demonstrated that they

intend to proceed with the Proposed Transaction, through Closing, without first honoring Orbit’s

Tag-Along Rights. As a result of their wrongful actions and inactions, the Taylor Parties are in

breach and/or anticipatory breach of their obligations under Section 10.7 of the Partnership

Agreement.

       103.    Prior to the transfer of any of the Taylor Parties’ Partnership Interests as part of the

Proposed Transaction, either the Buyer or the Taylor Parties must purchase all of Orbit’s Limited

Partnership Interests at the same price as the Taylor Parties will receive under the EIPA.

Otherwise, as mandated by Section 10.7(d)(iii) of the Partnership Agreement, the “Selling Partner

shall not (directly or indirectly) Transfer any of its Partnership Interests” to the Buyer.

       104.    Simply put, Orbit’s Tag-Along Rights must be honored before the Taylor Parties

transfer any of their Partnership Interests to the Buyer – not years thereafter. (See also Partnership

Agreement § 10.1 (“A Partner may not Transfer or assign all or any part of such Partner’s

Partnership Interest except in accordance with this Agreement.”).) The Taylor Parties’ continuing

efforts to proceed with the Proposed Transaction, while refusing to honor Orbit’s Tag-Along

Rights, is a continuing and flagrant breach of the Partnership Agreement.

       105.    The Taylor Parties cannot flout their Tag-Along obligations by structuring the

disposition of Partnership Interests in “tranches” or by setting the deadline to transfer General



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Partnership Interests for December 31, 2023 (although the transfer may occur any time before that

date at the Buyer’s discretion). Moreover, Orbit cannot be forced to wait until the Buyer exercises

the Second Tranche option at some indeterminate date in the future to receive the benefit of its

bargained-for Tag-Along Rights.

       106.    Although the Taylor Parties claim that the Proposed Transaction will not trigger

Tag-Along Rights “unless and until the Second Tranche option is exercised and consummated”

(Exhibit G hereto), the undeniable reality is that the Taylor Parties are proposing to enter into a

“Control Sale.” Therefore, the Tag-Along Rights already have been triggered.

       107.    As Orbit expressly negotiated when it agreed to join the Partnership, Section 10.7

of the Partnership Agreement guarantees that Orbit may exercise its Tag-Along Rights

immediately when a Control Sale is first proposed. Since the Taylor Parties are violating those

Tag-Along Rights, Orbit has no alternative but to seek appropriate relief from this Court.

                                             COUNT I

                  BREACH OF LIMITED PARTNERSHIP AGREEMENT

       108.    Orbit restates and incorporates by reference each of the paragraphs set forth above.

       109.    The Partnership Agreement is an enforceable contract.

       110.    Orbit has performed all conditions precedent under the Partnership Agreement.

       111.    The Proposed Transaction constitutes a proposal to enter into a Control Sale,

thereby immediately triggering Orbit’s Tag-Along Rights under Section 10.7 of the Partnership

Agreement, which must be honored before the Taylor Parties transfer any of their Partnership

Interests as part of the Proposed Transaction.

       112.    The Taylor Parties have breached the Partnership Agreement by, among other

things, failing to deliver a Sale Notice to all Limited Partners, including Orbit, within ten (10) days

of executing the EIPA, as required by Section 10.7(b) of the Partnership Agreement.

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       113.    The Taylor Parties have further breached the Partnership Agreement by failing to

recognize, acknowledge, and act on Orbit’s Tag-Along Notices in accordance with Section 10.7

of the Partnership Agreement.

       114.    The Taylor Parties have further breached the Partnership Agreement by expressly

denying that Orbit possesses any Tag-Along Rights, and by failing to use commercially reasonable

efforts to obtain the Buyer’s agreement to Orbit’s participation in the Proposed Transaction, or

offer to purchase Orbit’s Partnership Interests themselves, as the Partnership Agreement requires.

       115.    The Taylor Parties also have anticipatorily repudiated and breached Sections 10.1

and 10.7 of Partnership Agreement by agreeing and continuing to seek to transfer Partnership

Interests to the Buyer without, among other things, (a) recognizing, acknowledging, and acting

upon Orbit’s Tag-Along Notices; (b) using commercially reasonable efforts to obtain Buyer’s

agreement to Orbit’s participation in the Proposed Transaction, as required by Section 10.7(d)(i)

of the Partnership Agreement; and (c) in the event that the Buyer does not agree to Orbit’s

participation, purchasing Orbit’s Partnership Interests, as required by Section 10.7(d)(iii) of the

Purchase Agreement.

       116.    As a direct and proximate result of the Taylor Parties’ wrongful actions and

inactions, Orbit has suffered, and continues to suffer, damages and is entitled to damages in an

amount to be proven at trial (but believed to total at least $300,000,000.00), including pre- and

post-judgment interest, legal fees and costs of suit.

                                            COUNT II

         BREACH OF IMPLIED DUTY OF GOOD FAITH AND FAIR DEALING

       117.    Orbit restates and incorporates by reference each of the paragraphs set forth above.

       118.    The Partnership Agreement is an enforceable contract.



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       119.     Under Minnesota law, every contract includes an implied covenant of good faith

and fair dealing requiring that one party not unjustifiably hinder the other party's performance of

the contract.

       120.     The Taylor Parties structured the Proposed Transaction in a wrongful effort to

circumvent Section 10.7 of the Partnership Agreement and suppress Orbit’s Tag-Along Rights. In

so doing, the Taylor Parties are undermining the very purpose of Section 10.7 and are depriving

Orbit of essential contractual rights that were specifically bargained for when the Taylor Parties

sought Orbit’s investment in the Partnership.

       121.     Although the Taylor Parties provided a copy of the EIPA to Orbit, nowhere in their

letter transmitting the EIPA did the Taylor Parties provide written notice of a “proposed Tag-Along

Sale,” as required by Section 10.7(b) of the Partnership Agreement. (See Partnership Agreement

§ 10.7(d)(i).) To the contrary, the Taylor Parties falsely took the position that no such “Tag-Along

Sale” is being proposed at this time and, instead, “would not arise unless and until the Second

Tranche option is exercised and consummated.” (Exhibit G) (emphasis added). In doing so, the

Taylor Parties are attempting to circumvent Orbit’s bargained-for rights under Section 10.7 of the

Partnership Agreement.

       122.     By reason of the foregoing, the Taylor Parties are in breach of their implied

covenant of good faith and fair dealing under the Partnership Agreement. The Taylor Parties are

willfully attempting to circumvent the provisions of the Partnership Agreement in a calculated but

futile scheme to unjustifiably hinder Orbit’s ability to exercise its Tag-Along Rights.

       123.     As a direct and proximate result of the Taylor Parties’ wrongful actions and

inactions, Orbit has suffered, and continues to suffer, damages and is entitled to damages in an




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amount to be proven at trial (but believed to total at least $300,000,000.00), including pre- and

post-judgment interest, legal fees and costs of suit.

                                            COUNT III

                                      INJUNCTIVE RELIEF

       124.    Orbit restates and incorporates by reference each of the paragraphs set forth above.

       125.    Orbit is entitled to injunctive relief enjoining the Taylor Parties from transferring

any of their Partnership Interests as part of the Proposed Transaction unless and until the Taylor

Parties: (a) issue a Sale Notice to all Limited Partners, as required by Section 10.7(b) of the

Partnership Agreement; (b) use commercially reasonable efforts to obtain Buyer’s agreement to

Orbit’s participation in the Proposed Transaction at the Closing, as required by Section 10.7(d)(i)

of the Partnership Agreement; and (c) in the event that Buyer does not agree to Orbit’s

participation, purchase Orbit’s Partnership Interests at the Closing, as required by

Section 10.7(d)(iii) of the Purchase Agreement.

       126.    As set forth in the preceding paragraphs of the Complaint, Orbit is entitled to relief

against the Taylor Parties under Section 10.7 of the Partnership Agreement and otherwise.

       127.    If, however, the Taylor Parties are allowed to proceed to Closing under the EIPA

and Transfer their Partnership Interests before Orbit’s Tag-Along Rights are honored and enforced,

Orbit will be irreparably harmed. Orbit’s contractual rights will be erased and circumvented, and

Orbit will be left without an adequate legal remedy.

       128.    By reason of the foregoing, there is a probability that the Taylor Parties will not be

able to satisfy an award of adequate damages. Left without an adequate remedy at law, Orbit is

entitled injunctive relief to avert irreparable harm.

       129.    Orbit will be irreparably harmed if the foregoing injunctive relief is not granted, the

balance of harms favors Orbit, and an injunction is in the public interest.

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                                            COUNT IV

               DECLARATORY JUDGMENT (MINN. STAT. § 555.01, ET SEQ.)

       130.     Orbit restates and incorporates by reference each of the paragraphs set forth above.

       131.     Orbit brings this cause of action pursuant to the Minnesota Uniform Declaratory

Judgment Act, Minn. Stat. § 555.01, et seq.

       132.     An actual controversy now exists between Orbit and the Taylor Parties as to

whether the Proposed Transaction constitutes a proposal to enter into a Control Sale, thereby

immediately triggering Orbit’s Tag-Along Rights under Section 10.7 of the Partnership

Agreement.

       133.     A further actual controversy now exists between Orbit and the Taylor Parties as to

whether the Taylor Parties must honor Orbit’s Tag-Along Rights under Section 10.7 of the

Partnership Agreement before transferring any of their Partnership Interests as part of the Proposed

Transaction.

       134.     Therefore, Orbit seeks a declaration from this Court that the Proposed Transaction

constitutes a proposal to enter into a Control Sale, thereby immediately triggering Orbit’s Tag-

Along Rights under Section 10.7 of the Partnership Agreement.

       135.     Orbit seeks a further declaration from this Court that the Closing of the Proposed

Transaction may not occur unless and until the Taylor Parties honor Orbit’s Tag-Along Rights

under Section 10.7 of the Partnership Agreement, including by (a) issuing a Sale Notice to all

Limited Partners, as required by Section 10.7(b) of the Partnership Agreement; (b) using

commercially reasonable efforts to obtain Buyer’s agreement to Orbit’s participation in the

Proposed Transaction at the Closing, as required by Section 10.7(d)(i) of the Partnership

Agreement; and (c) in the event that Buyer does not agree to Orbit’s participation, agreeing to



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purchase Orbit’s Partnership Interests at the Closing, as required by Section 10.7(d)(iii) of the

Purchase Agreement.

       136.    Orbit further seeks declaratory relief, costs, and all other relief permitted by law.

                                     PRAYER FOR RELIEF

       WHEREFORE, Orbit seeks judgment in its favor and an order and judgment against the

Taylor Parties that grants the following relief:

       1.      A declaratory judgment that the Proposed Transaction constitutes a proposal to

enter into a Control Sale, thereby immediately triggering Orbit’s Tag-Along Rights under Section

10.7 of the Partnership Agreement;

       2.      A declaratory judgment that the Closing of the Proposed Transaction may not occur

unless and until the Taylor Parties honor Orbit’s Tag-Along Rights under Section 10.7 of the

Partnership Agreement, including by: (a) issuing a Sale Notice to all Limited Partners, as required

by Section 10.7(b) of the Partnership Agreement; (b) using commercially reasonable efforts to

obtain Buyer’s agreement to Orbit’s participation in the Proposed Transaction at the Closing, as

required by Section 10.7(d)(i) of the Partnership Agreement; and (c) in the event that Buyer does

not agree to Orbit’s participation, purchasing Orbit’s Partnership Interests at the Closing, as

required by Section 10.7(d)(iii) of the Purchase Agreement;

       3.      Finding and declaring that the Taylor Parties have breached and/or anticipatorily

breached and/or repudiated the Partnership Agreement;

       4.      Granting injunctive relief enjoining the Taylor Parties from transferring any of their

Partnership Interests as part of the Proposed Transaction unless and until the Taylor Parties: (1)

issue a Sale Notice to all Limited Partners, as required by Section 10.7(b) of the Partnership

Agreement; (2) use commercially reasonable efforts to obtain Buyer’s agreement to Orbit’s



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participation in the Proposed Transaction at the Closing, as required by Section 10.7(d)(i) of the

Partnership Agreement; and (3) in the event that Buyer does not agree to Orbit’s participation,

purchase Orbit’s Partnership Interests at the Closing, as required by Section 10.7(d)(iii) of the

Purchase Agreement;

       5.      Awarding Orbit monetary damages in an amount to be proven at trial (but believed

to total at least $300,000,000.00), including pre- and post-judgment interest;

       6.      Awarding Orbit its costs in this action, including attorney fees; and

       7.      Granting such other relief to which Orbit may be entitled under law, equity, and/or

as the Court deems just and proper.

                                                         Respectfully submitted,

Dated: May 26, 2021                                      GREENBERG TRAURIG, LLP

                                                          By: /s/ Michael M. Krauss
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